       Case 1:18-cv-00182-SPW-TJC Document 4 Filed 01/04/19 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

 HOLLI TELFORD,                                    CV 18-182-BLG-SPW-TJC

                     Plaintiff,
                                                   ORDER
 vs.

 MONTANA LAND EXCHANGE, et
 al.,

                     Defendants.

       On December 31, 2018, this case was filed in the Billings Division. (Id. at

1.) Upon review of the Complaint, it appears this action relates to property located

in Lima, Montana, which is in Beaverhead County. Accordingly, pursuant to

Local Rule 1.2(c)(2), this case shall be transferred to the Butte Division.

IT IS ORDERED.

       DATED this 4th day of January, 2019.

                                        _______________________________
                                        TIMOTHY J. CAVAN
                                        United States Magistrate Judge
